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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


LAMONTE MCINTYRE and                                    )
ROSE LEE MCINTYRE,                                      )
                                                        )
                                 Plaintiff(s),          )
                                                        ) CASE NO. 18-2545-KHV
                                                        )
v.                                                      )
                                                        )
UNIFIED GOVERNMENT OF                                   )
WYANDOTTE COUNTY AND                                    )
KANSAS CITY, KANSAS, et al.                             )
                                                        )
                                 Defendant(s).          )


                             AFFIDAVIT IN SUPPORT OF
                     MOTION FOR LEAVE TO APPEAR PRO HAC VICE

          Pursuant to D. Kan. Rule 83.5.4., I declare that the following facts are true, to the best of

my knowledge, information, and belief:

     1.      My full name is:     Tricia Rojo Bushnell

     2.      I practice under the following firm name or letterhead:

             Name:      Midwest Innocence Project
             Address:  3619 Broadway Blvd., #2
                       Kansas City, MO 64111
             Telephone Number: (816) 221-2166
             Fax: (816) 325-3107
             Email address: trojobushnell@themip.org


     3.      I have been admitted to practice in the following courts (here list the dates and places

             of admission to all bars, state or federal, and any bar registration numbers):


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        Court                              Date of Admission                      Bar Number

        United States Supreme Court        2013
        Eight Circuit Court of Appeals     2015
        Missouri                           2014                                   66818
        Iowa                               2017                                   AT0013307
        Wisconsin                          2011 (Inactive)                        1080889
        Alabama                            2008 (Inactive)                        T54B-1447
        California                         2007 (Inactive)                        252945

4.      I have reviewed D. Kan. Rule 83.5.4. Pursuant to that rule I have retained local counsel

        to assist in the representation in this case, and I agree that local counsel will sign all

        pleadings or other papers and participate meaningfully in the preparation and trial of

        the case or proceedings to the extent required by the Court.

5.      I consent to the exercise of disciplinary jurisdiction over any alleged misconduct that

        occurs during the progress of this case.

6.      I am in good standing in all bars of which I am a member.

7.      No disciplinary or grievance proceedings have been previously filed against me.

8.      No disciplinary or grievance proceedings are pending against me in any jurisdiction.

9.      I have not been charged in any court of the United States or of any state, territory or

        possession of the United States with the commission of a felony or unprofessional

        conduct.

10.     I have completed the Electronic Filing Registration Form for filing as an attachment to

        this motion and affidavit. I understand I will receive System-generated notices of

        electronic filing.




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Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.




                                                     Tricia Rojo Bushnell
                                                     trojobushnell@themip.org
                                                     3619 Broadway Blvd., #2
                                                     Kansas City, MO 64111
                                                     Telephone: (816) 221-2166
                                                     Fax: (816) 325-3107




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